                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                             EASTERN DIVISION

 UNITED STATES OF AMERICA,                             No. 24-CR-2010 CJW-MAR
                Plaintiff,
 vs.                                ORDER REGARDING MAGISTRATE
                                          JUDGE’S REPORT AND
 DAYTON AMARU SHAKUR BRUCE,
                                           RECOMMENDATION
          Defendant.                  CONCERNING DEFENDANT’S
                                              GUILTY PLEA
                     __________________________

                   I.        INTRODUCTION AND BACKGROUND
       On February 22, 2024, a one-count Indictment was filed against defendant. On
April 4, 2024, defendant appeared before United States Magistrate Judge Mark A.
Roberts and entered a plea of guilty to count one of the Indictment. On April 4, 2024,
Judge Roberts filed a Report and Recommendation (“R&R”) in which he recommended
defendant’s guilty plea be accepted. The parties did not file objections to Judge Roberts’
R&R.     The Court, therefore, undertakes the necessary review of Judge Roberts’
recommendation to accept defendant’s plea in this case.
                                   II.     ANALYSIS
       Under the statute, this Court’s standard of review for a magistrate judge’s R&R is
as follows:
       A judge of the court shall make a de novo determination of those portions
       of the report or specified proposed findings or recommendations to which
       objection is made. A judge of the court may accept, reject, or modify, in
       whole or in part, the findings or recommendations made by the magistrate
       judge.

28 U.S.C. § 636(b)(1)(C).
       When parties do not object to a magistrate judge’s report and recommendation,
the Court reviews the report and recommendation for clear error.           28 U.S.C. §
636(b)(1)(A). Similarly, Federal Rule of Criminal Procedure 59(b) provides for review

    Case 6:24-cr-02010-CJW-MAR           Document 23    Filed 04/19/24    Page 1 of 2
of a magistrate judge’s R&R on dispositive motions, where objections are made, as
follows:
       The district judge must consider de novo any objection to the magistrate
       judge’s recommendation. The district judge may accept, reject, or modify
       the recommendation, receive further evidence, or resubmit the matter to the
       magistrate judge with instructions.

FED. R. CRIM. P. 59(b)(3).1
       In this case, the parties filed no objections, and it appears to the Court upon review
that Judge Roberts’ findings and conclusions are not clearly erroneous. Therefore, the
Court ACCEPTS Judge Roberts’ R&R of April 4, 2024, and ACCEPTS defendant’s
plea of guilty in this case to count one of the Indictment.
       IT IS SO ORDERED this 19th day of April, 2024.



                                          _________________________
                                          C.J. Williams, Chief Judge
                                          United States District Court
                                          Northern District of Iowa




1
   United States v. Cortez-Hernandez, 673 F. App’x 587, 590-91 (8th Cir. 2016) (per curiam),
suggests that a defendant may have the right to de novo review of a magistrate judge’s
recommendation to accept a plea of guilty even if no objection is filed.



                                             2

    Case 6:24-cr-02010-CJW-MAR          Document 23       Filed 04/19/24    Page 2 of 2
